                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


BRITTANY WIRTZ,                                                Case No. 1:18-cv-837

                              Plaintiff,

v.                                                   DEFENDANT UNITEDHEALTHCARE
                                                    INSURANCE COMPANY’S NOTICE OF
UNITEDHEALTHCARE INSURANCE                            REMOVAL TO FEDERAL COURT
COMPANY,

                              Defendant.



         Pursuant to 28 U.S.C. § 1441(a), Defendant UnitedHealthcare Insurance Company

(“UHIC”) hereby removes this action to this Court. In support of the removal of this action,

UHIC states as follows:

         1.    Plaintiff Brittany Wirtz (“Plaintiff”) filed a Complaint against UHIC in Oconto

County Circuit Court (Case No. 2018CV000060) on April 20, 2018.                 Plaintiff served the

Complaint on UHIC on May 2, 2018. This Notice of Removal is filed within 30 days of service

of the Complaint on UHIC as required by 28 U.S.C. § 1446(a).

         2.    Removal of this action is proper because this action presents a federal question

over which this Court has original jurisdiction pursuant to 28 U.S.C. § 1331.

         3.    Plaintiff seeks to recover against UHIC for benefits allegedly owed to Plaintiff

under health insurance plans (the “Plans”) issued by UHIC to Plaintiff’s mother, Renee Wirtz, by

virtue of Ms. Wirtz’s employment with Maple Valley Mutual Insurance Company. (Complaint

¶ 3.)




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         4.     The Plans are part of an “employee welfare benefit plan” under 29 U.S.C. §

1002(1), and are governed exclusively by 29 U.S.C. § 1001 et seq., commonly referred to as the

Employer Retirement Income Security Act of 1974, or ERISA.

         5.     Copies of the UHIC Choice Plus Certificates of Coverage for Maple Valley

Mutual Insurance Company for 2016, 2017, and 2018, are attached at Exhibit 1-3 to the

accompanying Declaration of Jane E. Stalinski, Legal Case Information Analyst for UHIC.

         6.     Plaintiff’s claims “relate to” an employee welfare benefit plan and fall within the

scope of ERISA’s civil enforcement provisions. See 29 U.S.C. § 1132. As a result, Plaintiff’s

claims are completely preempted by ERISA.

         7.     Because the above-captioned action is a civil suit for benefits under an employee

welfare benefit plan arising under ERISA, this Court has original jurisdiction over this action

under 28 U.S.C. § 1331 and 29 U.S.C. § 1132, without respect to the amount in controversy or

the citizenship of the parties.

         8.     As a result, removal of this action is proper under 28 U.S.C. §§ 1441 and 1446, as

all rights, duties, and obligations of the parties are exclusively defined and controlled by ERISA.

         9.     A true and correct copy of all documents on file with the Oconto County Circuit

Court, State of Wisconsin, are attached hereto as Exhibit A.

         10.    Under 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being filed with

the Clerk of the Oconto County Circuit Court and served on counsel for Plaintiff.




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Dated: June 1, 2018                    /s/Donald T. Campbell
                                       Donald T. Campbell (MN #0262171)
                                           Admitted in the Eastern District of
                                           Wisconsin
                                       Andrew W. Davis (WI #1094358)
                                           Pro hac vice motion to be filed

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                                       Minneapolis, MN 55402
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                                       ATTORNEYS FOR DEFENDANT UNITED
                                       HEALTHCARE INSURANCE COMPANY




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